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 6
 7                        UNITED STATES DISTRICT COURT
 8                                DISTRICT OF NEVADA
 9
10   United States of America,

11                Respondent/Appellee,              Case Nos. 2:17-cr-00103-KJD-VCF
                                                              2:20-cv-01168-KJD
12         v.

13   Nicholas Brodigan,                             Notice of Appeal
14                Petitioner/Appellant.
15
16
           Notice is hereby given that Petitioner Nicholas Brodigan appeals to the
17
     United States Court of Appeals for the Ninth Circuit from the Order denying the
18
     motion to vacate, set aside, or correct sentence under 28 U.S.C. § 2255 and denying
19
     a certificate of availability (ECF Nos. 215 (2:17-cr-00103-KJD-VCF), 4 (2:20-cv-
20
     01168-KJD)), and Judgment entered on July 10, 2023, (ECF Nos. 215-1 (2:17-cr-
21
     00103-KJD-VCF), 5 (2:20-cv-01168-KJD)).
22
           Dated: September 8, 2023.
23
                                                Respectfully submitted,
24                                              RENE L. VALLADARES
25                                              Federal Public Defender

26                                        By: /s/Aarin E. Kevorkian
                                              AARIN E. KEVORKIAN
27                                            Assistant Federal Public Defender
        Case 2:17-cr-00103-KJD-VCF Document 218 Filed 09/08/23 Page 2 of 2




 1                                   Service Certificate
 2         I certify that, on September 8, 2023, I electronically filed this Notice of

 3   Appeal with the Clerk of the Court for the United States Court of Appeals for the

 4   Ninth Circuit through the CM/ECF system. Case participants registered to the

 5   CM/ECF system will be automatically served by the system. I also mailed this
 6   Notice of Appeal by First-Class Mail, postage pre-paid, or dispatched it to a third-
 7   party commercial carrier for delivery within 3 calendar days, to: Mr. Nicholas
 8   Brodigan.
 9
                                                 /s/ Jeremy Kip
10                                               Employee of the Federal Public
11                                               Defender

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